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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 QUARTZ AUTO TECHNOLOGIES LLC,

         Plaintiff
                                                   Civil Action No. 1:20-cv-00720
                 v.
                                                   The Honorable Alan D. Albright
 UBER TECHNOLOGIES, INC.,

         Defendant.

                     NOTICE OF PETITIONS FOR INTER PARTES REVIEW

        Pursuant to the Court’s Order Governing Patent Proceedings in Patent Cases (OGP version

3.2), General Issues ¶ 4, Plaintiff Quartz Auto Technologies LLC (“Quartz”) files this Notice

regarding petitions for inter partes review that have been filed against the patents asserted in this

case.

        The following table shows the current status of the relevant proceedings pending in the

United States Patent and Trademark Office before the Patent Trial and Appeal Board:


 Patent No.          IPR No.       Petition Filed By                   Current Status

                                                        Petition Filed: 7/6/20
 6,446,004      2020-1231       Uber Technologies, Inc. Prelim. Resp. Filed: 10/27/20
                                                        Decision regarding Institution: 1/27/21
                                                           Petition Filed: 8/31/20
 6,807,464      2020-1548       Lyft, Inc.                 Prelim. Resp. Due: 12/17/20
                                                           Decision regarding Institution: 3/17/21
                                                           Petition Filed: 6/30/20
 7,370,085      2020-1118       Unified Patents LLC        Prelim. Resp. Filed: 10/27/20
                                                           Decision regarding Institution: 1/27/21
                                                           Petition Filed: 8/27/20
 7,370,085      2020-1535       Lyft, Inc.                 Prelim. Resp. Due: 12/17/20
                                                           Decision regarding Institution: 3/17/21
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Patent No.     IPR No.        Petition Filed By                    Current Status

                                                      Petition Filed: 8/10/20
7,958,215    2020-1450     Lyft, Inc.                 Prelim. Resp. Due: 12/17/20
                                                      Decision regarding Institution: 3/17/21
                                                   Petition Filed: 7/6/20
9,460,616    2020-1232     Uber Technologies, Inc. Prelim. Resp. Filed: 10/27/20
                                                   Decision regarding Institution: 1/27/21




Dated: November 11, 2020                       Respectfully submitted,

                                               By: /s/ Nicole L. Little

                                                Timothy P. Maloney (IL 6216483)
                                                tim@fitcheven.com
                                                Nicole L. Little (IL 6297047)
                                                nlittle@fitcheven.com
                                                Joseph F. Marinelli (IL 6270210)
                                                jmarinelli@fitcheven.com
                                                Evan Kline-Wedeen (IL 6329941)
                                                eklinewedeen@fitcheven.com
                                                Jacqueline Thompson (IL 6333461)
                                                jthompson@fitcheven.com
                                                Thomas James (IL 6331587)
                                                tjames@fitcheven.com
                                                FITCH, EVEN, TABIN & FLANNERY LLP
                                                120 South LaSalle Street, Suite 2100
                                                Chicago, Illinois 60603
                                                Telephone: (312) 577-7000
                                                Facsimile: (312) 577-7007

                                                Attorneys for Plaintiff
                                                Quartz Auto Technologies LLC




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                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document has been caused to be served on

November 11, 2020 to all counsel of record via CM/ECF, which will send notification of such

filing to all registered participants:



                                                   /s/ Nicole L. Little
                                                   Attorney for Plaintiff




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